       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 1 of 31                                  FILED
                                                                                               2022 Dec-12 AM 09:12
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

LAVENTRA DENICE RUTLEDGE AS       )
ADMINISTRATRIX OF THE ESTATE OF )
THOMAS LEE RUTLEDGE,              )
                                  )
       Plaintiff,                 )
                                  )
v.                                )
                                  ) 2:21-CV-226-RDP
CHRISTIE SANSING AND CORY         )
ELLER, LIEUTENANT TIM POPE,       )
WARDEN PHYLLIS MORGAN,            )
WARDEN KENNETH PETERS, AND        )
CORRECTIONS OFFICERS J.           )
RODGERS, C. DEAN, AND G. GRIFFIN, )
PLANT MAINTENANCE SUPERVISOR      )
III BILLY KENNEDY, P & M          )
MECHANICAL, INC., TAYLOR          )
ELECTRICAL CONTRACTORS, INC.,     )
LS&R, LLC, AUTOMATED LOGIC        )
CONTRACTING SERVICES, INC.,       )
SOUTHEASTERN TEMPERATURE          )
CONTROLS, INC., STC WORLDWIDE,    )
LLC, AND FICTITIOUS DEFENDANTS,   )
                                  )
       Defendants.

FICTITIOUS DEFENDANTS A, B and C, whether singular or plural, that person, firm,
corporation, or entity, of which was engaged in construction activities, renovation, design, repair,
replacement, installation, removal, demolishment of the HVAC system and/or the like, at the
William E. Donaldson Correctional Facility in Bessemer, Alabama from 2019 to December 7,
2020;

FICTITIOUS DEFENDANTS D, E and F, whether singular or plural, that person, firm,
corporation, or entity, responsible for designing, renovating maintaining, inspecting, repairing,
replacing, installing, removing, demolishing or equipping the HVAC system at the William E.
Donaldson Correctional Facility in Bessemer, Alabama from 2019 to December 7, 2020;

FICTITIOUS DEFENDANTS G, H and I, whether singular or plural, that person, firm,
corporation, or entity, on whose behalf the construction activities were performed on the occasion
made the basis of this suit;

FICTITIOUS DEFENDANTS J, K and L, whether singular or plural, that person, firm,

                                                1
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 2 of 31




corporation, or entity, who or which insured the party(ies) causing damages the Plaintiff made
the basis of this lawsuit occurred;

FICTITIOUS DEFENDANTS M, N and O, whether singular or plural, is that person, firm,
corporation, or entity, who or which negligently entrusted the construction/renovation activities
performed on the occasions made the basis of this lawsuit;

FICTITIOUS DEFENDANTS P, Q and R, whether singular or plural, that person, firm,
corporation, or entity, who or which was responsible for the hiring, training, and supervision of
employees, agents, contactors, subcontractors and/or affiliates for construction/renovation
activities on the occasion made the basis of this suit;

FICTITIOUS DEFENDANTS S, T and U, whether singular or plural, that person, firm,
corporation, or entity, who or which destroyed, discarded, concealed, fabricated, altered or
otherwise spoliated evidence relevant to the incident made the basis of this suit;

FICTITIOUS DEFENDANTS V, W and X, whether singular or plural, that person, firm,
corporation, or entity, whose negligence, wantonness, willfulness and/or otherwise wrongful
conduct caused the incident and damages made the basis of this suit;

FICTITIOUS DEFENDANTS Y, Z and AA, whether singular or plural, that person, firm,
corporation, or entity, that is the true and correct name or names of the Defendants designated
herein as P & M Mechanical, Inc., Taylor Electrical Contractors, Inc., LS&R LLC, Automated
Logic Contracting Services, Inc., Southeastern Temperature Controls Inc., and STC Worldwide;

FICTITIOUS DEFENDANTS BB, CC and DD, whether singular or plural, that person, firm
or corporation which is the successor-in-interest of any of the named or above-described Fictitious
Party Defendants;

FICTITIOUS DEFENDANTS EE, FF and GG, whether singular or plural, that person, firm or
corporation which is the predecessor-in-interest of any of the named or above- described Fictitious
Party Defendants;

FICTITIOUS DEFENDANTS HH, LL and MM, whether singular or plural, that person, firm,
corporation, or entity, who or which was acting as an agent, employee, servant, contractor, and/or
subcontractor of and for any of the above-named Defendants or above- described Fictitious Party
Defendants at the times of the occurrences made the basis of this lawsuit; the identities of the
Fictitious Party Defendants are otherwise unknown to Plaintiff at this time, or if their names are
known to Plaintiff at this time, their identities as proper party Defendants are not known to
Plaintiff at this time, but their true names will be substituted by amendment when ascertained.




                                                2
          Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 3 of 31




                       DEFENDANT JOHN RODGERS’S
           ANSWER TO THE PLAINTIFF’S FOURTH AMENDED COMPLAINT

         Defendant John Rodgers, identified in the Fourth Amended Complaint as J. Rodgers,

answers the Plaintiff’s Fourth Amended Complaint (Doc. 132) and each count or claim asserted

therein as follows:

I.       Introduction

1. This Defendant admits that Thomas Lee Rutledge was in the custody of the Alabama

      Department of Corrections at William E. Donaldson Correctional Facility at the time of the

      alleged incident. This Defendant admits that the Plaintiff is bringing claims pursuant to Federal

      Laws. This Defendant denies that the Plaintiff is entitled to damages or relief for these claims.

      This Defendant denies the remaining allegations contained within this paragraph.

II.      Parties

2. Upon information and belief, this Defendant admits the allegations in this paragraph.

3. This Defendant admits that Thomas Lee Rutledge was in the custody of the Alabama

      Department of Corrections at William E. Donaldson Correctional Facility at the time of the

      alleged incident. This Defendant denies the remaining allegations contained within this

      paragraph.

4. This Defendant admits that Defendants Sansing, Eller, Pope, Moran and Peters are current or

      former employees of the Alabama Department of Corrections. This Defendant denies the

      remaining allegations contained within this paragraph.

5. This Defendant lacks knowledge or information to admit or deny the allegations contained

      within this paragraph. Therefore, the allegations are denied.

6. This Defendant admits that he was employed as a Corrections Officer on December 7, 2020.

      This Defendant admits that Defendants C. Dean and G. Griffin were employed as Corrections

                                                   3
        Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 4 of 31




   Officers on December 7, 2020. This Defendant admits that the Plaintiff asserts claims against

   this Defendant in his individual capacity. This Defendant denies that the Plaintiff is entitled to

   damages or relief for these claims. This Defendant denies the remaining allegations contained

   within this paragraph.

7. This Defendant admits Billy Kennedy was the maintenance supervisor at William E.

   Donaldson Correctional Facility during his employment. This Defendant lacks knowledge or

   information to admit or deny the remaining allegations contained within this paragraph.

   Therefore, the remaining allegations are denied.

8. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

9. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

10. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

11. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

12. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

13. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

14. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all



                                                 4
        Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 5 of 31




   material averments directed to him.

15. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

16. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

17. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

18. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

19. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

20. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

21. This paragraph addresses fictitious defendants. Therefore, no response is required from this

   Defendant. To the extent any response from this Defendant is required, Defendant denies all

   material averments directed to him.

22. This paragraph addresses fictitious defendants. Therefore, no response is required from this



                                               5
           Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 6 of 31




       Defendant. To the extent any response from this Defendant is required, Defendant denies all

       material averments directed to him.

23. This paragraph addresses fictitious defendants. Therefore, no response is required from this

       Defendant. To the extent any response from this Defendant is required, Defendant denies all

       material averments directed to him.

III.      Jurisdiction and Venue

24. This Defendant admits that this Court possesses personal jurisdiction in this action. This

       Defendant also admits that venue is proper in the U.S. District Court for the Northern District

       of Alabama because Donaldson is located in Jefferson County, Alabama. This Defendant

       denies that this Court possesses subject-matter jurisdiction over Plaintiff’s 42 U.S.C. § 1983

       (“Section 1983”) claims due to qualified immunity. Further, this Defendant denies that this

       Court possesses supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

       U.S.C. § 1367. Except as expressly admitted hereinabove, this Defendant denies the remaining

       allegations contained in this paragraph.

IV.       Factual Allegations

       A. Rutledge was Sentenced to Life Without Parole as a Juvenile and Had Spent More
          than Half His Life in Prison.

25. This Defendant admits the allegations contained within this paragraph.

26. This Defendant lacks knowledge or information to admit or deny the allegations contained

       within this paragraph. Therefore, the allegations are denied.

27. This Defendant admits that Rutledge passed away on December 7, 2020. This Defendant

       admits that Rutledge’s cause of death was listed as hyperthermia. The Defendant lacks

       knowledge or information to admit or deny the remaining allegations contained within this

       paragraph. Therefore, the remaining allegations are denied.

                                                    6
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 7 of 31




   B. 2019-2020 HVAC Renovation Project at Donaldson

28. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

29. This Defendant admits that the T-Unit is part of the RTU Unit. This Defendant lacks

   knowledge or information to admit or deny the remaining allegations contained within this

   paragraph. Therefore, the remaining allegations are denied.

30. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

31. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

32. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   C. The Prison’s Heating System

33. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

34. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

35. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

36. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

37. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.



                                                7
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 8 of 31




38. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   D. P & M and its Subcontractors Negligently or Wantonly Destroyed Thermostatic
      Controls and Disconnected Power to Solenoids for T Unit.

39. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

40. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

41. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

42. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

43. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

44. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

45. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   E. Plant Maintenance Supervisor III Billy Kennedy Discovers that Contractors Have
      Destroyed Thermostatic Controls for T Unit.

46. This Defendant admits Billy Kennedy was the maintenance supervisor at William E.

   Donaldson Correctional Facility during his employment. This Defendant lacks knowledge or

   information to admit or deny the remaining allegations contained within this paragraph.

   Therefore, the remaining allegations are denied.



                                                8
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 9 of 31




47. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

48. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

49. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

50. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

51. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

52. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   F. Despite Knowing that T Unit’s Thermostatic Controls Are Disabled, Plant
      Maintenance Supervisor Kennedy Allows the Boiler to Run Dangerously Hot.

53. This Defendant admits Billy Kennedy was the maintenance supervisor at William E.

   Donaldson Correctional Facility during his employment. This Defendant lacks knowledge or

   information to admit or deny the remaining allegations contained within this paragraph.

   Therefore, the remaining allegations are denied.

54. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

55. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

56. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

                                                9
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 10 of 31




57. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

58. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

59. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

60. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

61. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

62. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

63. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

64. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   G. Defendants ADCO Companies, Ltd., and Southeastern Temperature Controls, Inc.
      and/or STC Worldwide Perform Maintenance on Boiler and Bypassed the Pressure
      Release Valve and/or Steam Regulator.

65. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

66. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

67. This Defendant lacks knowledge or information to admit or deny the allegations contained



                                               10
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 11 of 31




   within this paragraph. Therefore, the allegations are denied.

68. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

69. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

70. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

71. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

72. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

73. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   H. On November 2, 2020, Kennedy Operates the Boiler with the Steam Regulator and/or
      Pressure Release Valve in Bypass Mode to Restore Heating to the Prison.

74. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

75. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

76. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

77. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

78. This Defendant lacks knowledge or information to admit or deny the allegations contained

                                               11
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 12 of 31




   within this paragraph. Therefore, the allegations are denied.

   I. Inmates in T Unit Complain of Excessive Heat All Weekend.

79. This Defendant denies the allegations in the first sentence of this paragraph. This Defendant

   lacks knowledge or information to admit or deny the remaining allegations contained within

   this paragraph. Therefore, the remaining allegations are denied.

80. This Defendant denies the allegations contained within this paragraph.

81. This Defendant admits the allegations contained within this paragraph.

82. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   J. Kennedy Allows the Heating Water Temperature to Exceed 130 Degrees and Then
      Allows the Boiler Temperature Logs to Be Destroyed after the DOC Receives
      Plaintiff’s Subpoena.

83. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

84. This Defendant admits that Plaintiff sent the referenced subpoena to the Alabama Department

   of Corrections and that this paragraph quotes the subpoena.

85. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

86. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

87. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

88. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.



                                               12
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 13 of 31




89. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   K. Thomas Rutledge’s Conditions of Confinement.

90. This Defendant admits the allegations contained within this paragraph.

91. This Defendant admits the allegations contained within this paragraph.

92. This Defendant admits that Rutledge’s cells contained a heating vent, and that Rutledge had

   no thermostat to control the temperature of his cell. This Defendant denies the remaining

   allegations contained within this paragraph.

93. This Defendant admits that Rutledge was housed in the mental health ward. This Defendant

   admits that he was trained to perform regular, frequent checks on inmates in the mental health

   ward. This Defendant denies the remaining allegations contained within this paragraph.

   L. The Prison’s “Psychotropic Medication and Heat” Policy Recognizes the Risk of
      Heat-Related Illness and the Need for Special Cooling Measures When Temperatures
      in Housing Units Exceed Eighty-Five Degrees.

94. This Defendant admits that ADOC maintains a “Psychotropic Medication and Heat” policy.

   This Defendant admits that the allegations contained within this paragraph quote the

   “Psychotropic Medication and Heat” policy. To the extent that any of the allegations can be

   construed as factual allegations that seek to impose liability upon this Defendant, they are

   denied.

95. This Defendant admits that ADOC maintains a “Psychotropic Medication and Heat” policy.

   This Defendant admits that the allegations contained within this paragraph quote the

   “Psychotropic Medication and Heat” policy. To the extent that any of the allegations can be

   construed as factual allegations that seek to impose liability upon this Defendant, they are

   denied.



                                                  13
      Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 14 of 31




96. This Defendant admits that ADOC maintains a “Psychotropic Medication and Heat” policy.

   This Defendant admits that the allegations contained within this paragraph quote parts (C) and

   (D) of Section Five (V) of the “Psychotropic Medication and Heat” policy. This Defendant

   admits that the “Psychotropic Medication and Heat” policy refers to a Housing Unit

   Temperature Log. To the extent that any of the allegations can be construed as factual

   allegations that seek to impose liability upon this Defendant, they are denied. This Defendant

   denies the remaining allegations contained within this paragraph.

97. This Defendant admits that the “Psychotropic Medication and Heat” policy exists. This

   Defendant admits that cooling procedures exist pursuant to the policy. To the extent that these

   allegations can be construed as factual allegations that seek to impose liability upon this

   Defendant, they are denied. This Defendant admits that the last sentence in this paragraph

   quotes the “Psychotropic Medication and Heat” policy. To the extent that these allegations can

   be construed as factual allegations that seek to impose liability upon this Defendant, they are

   denied. This Defendant denies the remaining allegations contained within this paragraph.

98. This Defendant admits that ADOC maintains a “Residential Treatment Unit” policy. This

   Defendant admits that the allegations within this paragraph contain a quote of the “Residential

   Treatment Unit” policy. This Defendant admits that he was familiar with RTU and that inmates

   housed on RTU had mental health needs. To the extent that these allegations can be construed

   as factual allegations that seeks to impose liability upon this Defendant, they are denied. This

   Defendant lacks knowledge or information to admit or deny that inmates used clothing or other

   articles to block vents or that temperatures in the T Unit regularly exceeded 85 degrees in the

   winter when the boiler was running. Therefore, these allegations are denied. This Defendant

   denies the remaining allegations contained within this paragraph.



                                               14
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 15 of 31




99. This Defendant lacks knowledge or information to admit or deny the allegations contained

   within this paragraph. Therefore, the allegations are denied.

   M. On the Evening of December 7, 2020, the Prison’s Boiler System Created an
      Environment of Life-Threatening Heat, Presenting an Acute and Immediate Risk of
      Deadly Harm to Inmates Housed There.

100. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

101. This Defendant denies the allegations contained within this paragraph.

102. This Defendant admits that the allegations contained within this paragraph quote the

     Jefferson County Coroner’s report. To the extent that these allegations can be construed as

     factual allegations that seek to impose liability upon this Defendant, they are denied.

103. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

104. This Defendant admits that he was on duty in the RTU for a portion of December 7, 2020.

     To the extent that these allegations can be construed as factual allegations that seek to impose

     liability upon this Defendant, they are denied. This Defendant denies the remaining

     allegations contained within this paragraph.

105. This Defendant admits that he conducted “living and breathing” checks and a “security”

     check on RTU and reported “all 96 units alive & well” and “all 96 units secure.” This

     Defendant denies that he was aware of any excessive life-threatening heat in the T Unit. This

     Defendant denies the allegations contained within this paragraph that he was deliberately

     indifferent and took no action.

106. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.



                                                15
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 16 of 31




107. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

108. This Defendant denies the allegations contained within the first sentence of this paragraph.

     This Defendant lacks knowledge or information to admit or deny the remaining allegations

     contained within this paragraph. Therefore, the remaining allegations are denied.

109. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

110. This Defendant denies that he was aware of “excessive, life threatening temperatures on T

     Unit that were well in excess of eighty-five degrees, and in excess of ninety degrees.” This

     Defendant admits that DOC maintains a “Psychotropic Medication and Heat” policy. This

     Defendant admits that the allegations contained within this paragraph quote part (C) of

     Section Five (V) of the “Psychotropic Medication and Heat” policy. To the extent that these

     allegations can be construed as factual allegations that seek to impose liability upon this

     Defendant, they are denied. This Defendant admits that DOC maintains a Housing Unit

     Temperature Log. This Defendant admits that the “Psychotropic Medication and Heat”

     policy refers to a Housing Unit Temperature Log. To the extent that any of the allegations

     can be construed as factual allegations that seek to impose liability upon this Defendant, they

     are denied. This Defendant denies the remaining allegations contained within this paragraph.

   N. Rutledge Died of Hyperthermia as a Direct Result of Life Threatening Temperatures
      in Excess of 101-104° Fahrenheit in His Housing Unit.

111. This Defendant admits that the allegations contained within this paragraph quotes the

     Rutledge’s autopsy report. To the extent that these allegations can be construed as factual

     allegations that seek to impose liability upon this Defendant, they are denied.

112. This Defendant lacks knowledge or information to admit or deny the allegations contained

                                                16
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 17 of 31




     within this paragraph. Therefore, the allegations are denied.

113. This Defendant admits that the first two allegations contained within this paragraph quote

     the Rutledge’s autopsy report. To the extent that these allegations can be construed as factual

     allegations that seek to impose liability upon this Defendant, they are denied. This Defendant

     lacks knowledge or information to admit or deny the remaining allegations contained within

     this paragraph. Therefore, the remaining allegations are denied.

   O. The Correctional Defendants Were Consciously Aware of the Acute and Immediate
      Risk of Deadly Harm Presented by the Life-Threatening Conditions on T Unit but
      Were Deliberately Indifferent to that Risk.

114. This Defendant admits that the allegations contained within this paragraph quote the

     Coroner’s report. To the extent that these allegations can be construed as factual allegations

     that seek to impose liability upon this Defendant, they are denied.

115. This Defendant denies the allegations contained within this paragraph.

116. This Defendant denies the allegations contained within this paragraph.

117. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

118. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

119. This Defendant admits that he was on duty in the RTU for a portion of December 7, 2020

     and was familiar with the fact that inmates housed in RTU had mental health needs. This

     Defendant denies the remaining allegations contained within this paragraph.

120. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

121. This Defendant denies the allegations contained within this paragraph.



                                                17
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 18 of 31




122. This Defendant admits that ADOC maintains a Housing Unit Temperature Log. This

     Defendant admits that the “Psychotropic Medication and Heat” policy refers to a Housing

     Unit Temperature Log. To the extent that any of the allegations can be construed as factual

     allegations that seek to impose liability upon this Defendant, they are denied. This Defendant

     denies the remaining allegations contained within this paragraph.

123. This Defendant admits that the allegations contained within this paragraph quote the Duty

     Officer Report that was attached as Exhibit C to the Plaintiff’s Second Amended Complaint.1

     To the extent that any of the allegations can be construed as factual allegations that seek to

     impose liability upon this Defendant, they are denied.

124. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

    P. The Contractor Defendants Admitted Responsibility

125. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

126. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

127. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

128. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

129. This Defendant lacks knowledge or information to admit or deny the allegations contained



1
  The Plaintiff’s Fourth Amended Complaint does not appear to contain the exhibits incorporated
into the Second Amended Complaint. This Defendant, however, acknowledges this paragraph
quotes the Duty Officer Report attached as Exhibit C to the Second Amended Complaint.
                                               18
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 19 of 31




     within this paragraph. Therefore, the allegations are denied.

   Q. Prison Staff Were Aware of a Previous Occasion When an Inmate Died of Excessive
      Heat on T Unit as a Result of the Boiler Heating System.

130. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

131. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

132. This Defendant is unaware if there was a prior death at Donaldson that related to over-

     heating. This Defendant denies the remaining allegations contained within this paragraph.

   R. Prison Officials, Including Defendants Warden Phyllis Morgan and Warden Kenneth
      Peters, Were Deliberately Indifferent to the Need to Institute Policies and Training
      Requiring Special Means of Cooling When Temperatures Rise Above Eighty-Five
      Degrees in Housing Unites, Regardless of the Outside Temperatures.

133. This Defendant admits that the “Psychotropic Medication and Heat” Policy governs cooling

     measures to be taken when the outside temperature reaches 85 degrees Fahrenheit. To the

     extent that these allegations can be construed as factual allegations that seek to impose

     liability upon this Defendant, they are denied. This Defendant denies the remaining

     allegations contained within this paragraph.

134. This Defendant admits that the allegations contained in this paragraph quote the

     “Psychotropic Medication and Heat” Policy. To the extent that these allegations can be

     construed as factual allegations that seek to impose liability upon this Defendant, they are

     denied. This Defendant denies the remaining allegations contained within this paragraph.

135. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

136. This Defendant lacks knowledge or information to admit or deny the allegations contained



                                               19
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 20 of 31




     within this paragraph. Therefore, the allegations are denied.

137. This Defendant lacks knowledge or information to admit or deny the allegations contained

     within this paragraph. Therefore, the allegations are denied.

138. This Defendant denies the allegations contained within this paragraph.

   First Cause of Action: Wrongful Death – Eighth Amendment to the United States
   Constitution via 42 USC § 1983 – Defendants Sansing, Rodgers, Griffin, and Dean –
   Individual Capacity Liability for Deliberate Indifference

139. This Defendant denies the allegations contained within this paragraph.

140. This Defendant admits that he was on duty in the RTU for a portion of December 7, 2020.

     This Defendant denies the remaining allegations contained within this paragraph.

141. This Defendant admits that ADOC maintains a Housing Unit Temperature Log. This

     Defendant admits that the “Psychotropic Medication and Heat” policy refers to a Housing

     Unit Temperature Log. To the extent that any of the allegations can be construed as factual

     allegations that seek to impose liability upon this Defendant, they are denied. This Defendant

     denies the remaining allegations contained within this paragraph.

142. This Defendant denies the allegations contained within this paragraph.

   Second Cause of Action: Wrongful Death – Eighth Amendment to the United States
   Constitution via 42 USC §1983 – Defendant Kennedy – Individual Capacity Liability for
   Deliberate Indifference.

143. This paragraph does not pertain to this Defendant, and therefore a response is not required.

144. This paragraph does not pertain to this Defendant, and therefore a response is not required.

145. This paragraph does not pertain to this Defendant, and therefore a response is not required.

146. This paragraph does not pertain to this Defendant, and therefore a response is not required.

147. This paragraph does not pertain to this Defendant, and therefore a response is not required.

148. This paragraph does not pertain to this Defendant, and therefore a response is not required.



                                               20
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 21 of 31




   Third Cause of Action: Wrongful Death; Individual Capacity Supervisory Liability;
   Deliberate Indifference; Deliberate Indifference; Eighth Amendment via §1983; Policy
   and/or Custom and/or Failure to Train – Defendants Warden Phyllis Morgan and
   Warden Kenneth Peters.

149. This paragraph does not pertain to this Defendant, and therefore a response is not required.

150. This paragraph does not pertain to this Defendant, and therefore a response is not required.

151. This paragraph does not pertain to this Defendant, and therefore a response is not required.

152. This paragraph does not pertain to this Defendant, and therefore a response is not required.

153. This paragraph does not pertain to this Defendant, and therefore a response is not required.

154. This paragraph does not pertain to this Defendant, and therefore a response is not required.

155. This paragraph does not pertain to this Defendant, and therefore a response is not required.

156. This paragraph does not pertain to this Defendant, and therefore a response is not required.

157. This paragraph does not pertain to this Defendant, and therefore a response is not required.

   Fourth Cause of Action: Wrongful Death; Alabama Code 6-5-410 – Defendants P & M
   Mechanical, Inc., Taylor Electrical Contractors, Inc., LS&R LLC, Automated Logic
   Contracting Services, Inc., and Fictitious Defendants (“Contractor Defendants”)

158. This paragraph does not pertain to this Defendant, and therefore a response is not required.

159. This paragraph does not pertain to this Defendant, and therefore a response is not required.

160. This paragraph does not pertain to this Defendant, and therefore a response is not required.

161. This paragraph does not pertain to this Defendant, and therefore a response is not required.

162. This paragraph does not pertain to this Defendant, and therefore a response is not required.

   a. Negligence of the Contractor Defendants Caused Rutledge’s Death

163. This paragraph does not pertain to this Defendant, and therefore a response is not required.

164. This paragraph does not pertain to this Defendant, and therefore a response is not required.

165. This paragraph does not pertain to this Defendant, and therefore a response is not required.

166. This paragraph does not pertain to this Defendant, and therefore a response is not required.

                                               21
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 22 of 31




   b. Wanton and Reckless Misconduct of the Contractor Defendants Caused Rutledge’s
      Death

167. This paragraph does not pertain to this Defendant, and therefore a response is not required.

168. This paragraph does not pertain to this Defendant, and therefore a response is not required.

169. This paragraph does not pertain to this Defendant, and therefore a response is not required.

   c. Negligent and/or Wanton Hiring, Training, and Supervision / Respondeat Superior

170. This paragraph does not pertain to this Defendant, and therefore a response is not required.

171. This paragraph does not pertain to this Defendant, and therefore a response is not required.

172. This paragraph does not pertain to this Defendant, and therefore a response is not required.

173. This paragraph does not pertain to this Defendant, and therefore a response is not required.

   Fifth Cause of Action: Wrongful Death; Alabama Code 6-5-410 – Defendants
   Southeastern Temperature Controls Inc. and/or STC Worldwide, and Fictitious
   Defendants (“Boiler Maintenance Defendants”)

174. This paragraph does not pertain to this Defendant, and therefore a response is not required.

175. This paragraph does not pertain to this Defendant, and therefore a response is not required.

176. This paragraph does not pertain to this Defendant, and therefore a response is not required.

177. This paragraph does not pertain to this Defendant, and therefore a response is not required.

178. This paragraph does not pertain to this Defendant, and therefore a response is not required. ]

   a. Negligence of Southeastern Temperature Controls Inc. and/or STC Worldwide
      Caused Rutledge’s Death

179. This paragraph does not pertain to this Defendant, and therefore a response is not required.

180. This paragraph does not pertain to this Defendant, and therefore a response is not required.

181. This paragraph does not pertain to this Defendant, and therefore a response is not required.

182. This paragraph does not pertain to this Defendant, and therefore a response is not required.

   b. Wanton and Reckless Misconduct of Southeastern Temperature Controls Inc. and/or
      STC Worldwide Caused Rutledge’s Death

                                                22
        Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 23 of 31




183. This paragraph does not pertain to this Defendant, and therefore a response is not required.

184. This paragraph does not pertain to this Defendant, and therefore a response is not required.

185. This paragraph does not pertain to this Defendant, and therefore a response is not required.

186. This paragraph does not pertain to this Defendant, and therefore a response is not required.

     c. Negligent and/or Wanton Hiring, Training and Supervision / Respondeat Superior

187. This paragraph does not pertain to this Defendant, and therefore a response is not required.

188. This paragraph does not pertain to this Defendant, and therefore a response is not required.

189. This paragraph does not pertain to this Defendant, and therefore a response is not required.

190. This paragraph does not pertain to this Defendant, and therefore a response is not required.

     VIII.       Request for Relief

191. This Defendant denies that the Plaintiff is entitled to a judgment in her favor or compensatory

      damages.

192. This Defendant denies that the Plaintiff is entitled to punitive damages.

193. This Defendant denies that the Plaintiff is entitled to attorney’s fees and costs.

194. This Defendant denies that the Plaintiff is entitled to expenses, costs, and interest.

195. This Defendant denies that the Plaintiff is entitled to any other relief.

V.      Jury Demand

196. The allegations in this paragraph do not require a response from this Defendant.

                                  AFFIRMATIVE DEFENSES

                                          DEFENSE ONE

        Plaintiff’s claims are barred by the applicable statutes of limitation.
                                         DEFENSE TWO

        The Fourth Amended Complaint fails to state a claim upon which relief can be granted.


                                                  23
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 24 of 31




                                      DEFENSE THREE

       The Court lacks jurisdiction over the persons involved in this action.

                                       DEFENSE FOUR

       The Court lacks jurisdiction over the subject matter of this action.

                                          DEFENSE FIVE

       This Defendant asserts that there is no casual connection, legal or proximate, between any

facts alleged in the Fourth Amended Complaint and any cognizable injury alleged.

                                          DEFENSE SIX

       This Defendant asserts that the portions of the Plaintiff’s Fourth Amended Complaint,

which attempt to state a cause of action pursuant to 42 U.S.C. Section 1983, fail to establish a

claim upon which relief can be granted.

                                       DEFENSE SEVEN

       This Defendant asserts that he is subject to state agent immunity pursuant to the Alabama

Constitution from suit for monetary damages and injunctive relief.

                                       DEFENSE EIGHT

       This Defendant asserts that he is subject to qualified immunity from suit for monetary

damages and injunctive relief.

                                        DEFENSE NINE

       This Defendant asserts that he is subject to state agent immunity pursuant to Ex parte

Cranman, 792 So. 2d 392 (Ala. 2000), and its progeny.

                                          DEFENSE TEN

       This Defendant asserts that he was discharging discretionary duties at all times referenced

in the Plaintiff’s Fourth Amended Complaint.



                                                24
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 25 of 31




                                      DEFENSE ELEVEN

       This Defendant is entitled to Eleventh Amendment immunity from the claims asserted

against him pursuant to 42 U.S.C. § 1983.

                                      DEFENSE TWELVE

       Plaintiff’s claims are barred because the Defendant is entitled to sovereign immunity under

Art. 1 §14 of Ala. Constitution of 1901.

                                    DEFENSE THIRTEEN

       Plaintiff’s claims do not fall within any judicially-recognized exception to sovereign

immunity.

                                    DEFENSE FOURTEEN

       This Defendant denies that the Plaintiff is entitled to compensatory damages.

                                      DEFENSE FIFTEEN

       This Defendant denies that the Plaintiff is entitled to punitive damages.

                                      DEFENSE SIXTEEN

       This Defendant asserts any claim for punitive damages is expressly limited by the

provisions of Alabama Code Sections 6-11-20 and 6-11-21.

                                   DEFENSE SEVENTEEN

       This Defendant did not participate in, authorize, ratify, or benefit from the alleged wrongful

acts that are asserted in the Fourth Amended Complaint.

                                    DEFENSE EIGHTEEN

       This Defendant asserts that any claim for punitive damages against the State of Alabama

are barred by Alabama Code Section 6-11-26.




                                                25
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 26 of 31




                                      DEFENSE NINETEEN

       To the extent that the Plaintiff is seeking an award of punitive damages, an award of

punitive damages to Plaintiff in this case would violate the constitutional safeguards provided to

this Defendant under the Constitution of the State of Alabama.

                                      DEFENSE TWENTY

       To the extent that the Plaintiff is seeking an award of punitive damages, any award of

punitive damages to Plaintiff in this case would violate the constitutional safeguards provided to

this Defendant under the United States Constitution.

                                     DEFENSE TWENTY-ONE

       To the extent that the Plaintiff is seeking an award of punitive damages, any award of

punitive damages to the Plaintiff in this case would violate Article I, Section 6 of the Constitution

of the State of Alabama which provides that no person shall be deprived of life, liberty, or property

except by due process of law, in that punitive damages are vague and are not rationally related to

legitimate governmental interests.

                                  DEFENSE TWENTY-TWO

       Plaintiff’s claims for punitive damages violate this Defendant’s United States and Alabama

Constitutional protections from, including without limitation, excessive fines, cruel and unusual

punishment, denial of due process and denial of equal protection of the law.

                                 DEFENSE TWENTY-THREE

       This Defendant denies that his actions were willful, malicious, fraudulent, illegal, in bad

faith, or beyond his authority and/or under a mistaken interpretation of the law.

                                  DEFENSE TWENTY-FOUR

       The Fourth Amended Complaint fails to sufficiently allege such facts as would show that



                                                 26
        Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 27 of 31




this Defendant breached any obligation or duty or otherwise caused any injury to the Plaintiff.

                                   DEFENSE TWENTY-FIVE

        This Defendant denies that any act or omission on his part proximately caused any injury

to the Plaintiff.

                                    DEFENSE TWENTY-SIX

        This Defendant claims the benefit of all statutes limiting the liability of governmental

entities and their employees or otherwise limiting the collection of judgments against

governmental entities and their employees under Alabama law.

                                  DEFENSE TWENTY-SEVEN

        A third-party is comparatively at fault for Plaintiff’s alleged damages, and this comparative

fault by non-party tortfeasors must be excluded from any damage award against the Correctional

Wardens.

                                  DEFENSE TWENTY-EIGHT

        Plaintiff’s claims are barred by the doctrine of waiver.

                                   DEFENSE TWENTY-NINE

        Plaintiff’s claims are barred by the doctrine of estoppel.

                                       DEFENSE THIRTY

        Plaintiff’s claims are barred because of the existence of superseding, intervening causes.

                                    DEFENSE THIRTY-ONE

        Plaintiff’s claims are barred because of the lack of damages or injury suffered due to any

of the alleged wrongs asserted against this Defendant.

                                   DEFENSE THIRTY-TWO

        Plaintiff’s claims are barred because this Defendant did not act with deliberate indifference.



                                                 27
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 28 of 31




Estelle v. Gamble, 429 U.S. 97 (1976).

                                 DEFENSE THIRTY-THREE

       To the extent Plaintiff seeks to recover any attorney fees, this Defendant objects to any and

all such requests for fees that are not asserted in the Fourth Amended Complaint or otherwise

approved by Court Order.

                                  DEFENSE THIRTY-FOUR

       This Defendant incorporates by reference any affirmative defense, pled now or later, by

any other Defendants which would be applicable to the claims against this Defendant.

                                  DEFENSE THIRTY-FIVE

       This Defendant denies he is guilty of conduct for which compensatory or punitive damages

could or should be awarded, and further, denies that Plaintiff has set forth clear, explicit, and

particular facts to support or sustain the imposition of compensatory or punitive damages.

                                   DEFENSE THIRTY-SIX

      This Defendant did not commit any wrongful act or omission under color of State Law.

                                 DEFENSE THIRTY-SEVEN

       Except to the extent specifically admitted, the Defendant denies each and every material

allegation of Plaintiff’s Fourth Amended Complaint and demands strict proof thereof.


                                      Respectfully submitted,

                                      TERRI OLIVE TOMPKINS
                                      CHRISTIAN ALEXANDRA MONTGOMERY

                                      /s/ TERRI OLIVE TOMPKINS
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                                                28
Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 29 of 31




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                               29
       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 30 of 31




                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing pleading or paper has been served upon:

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       Case 2:21-cv-00226-RDP Document 139 Filed 12/12/22 Page 31 of 31




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on this 12th day of December 2022, by electronically filing, delivering a copy to each, by mailing
a copy to each by first class United States Mail, postage prepaid, addressed to them at their last
known address or, if no address is known, by leaving it with the Clerk of this Court.

                                                    /s/ TERRI OLIVE TOMPKINS
                                                    Attorney for Defendant John Rodgers




                                               31
